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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA


  ALAN SILVA,                                        Case No. 24-cv-05264-PHK

                 Plaintiff,                          ORDER SETTING INITIAL CASE
          v.                                         MANAGEMENT CONFERENCE
                                                     AND ADR DEADLINES
  YANKA INDUSTRIES, INC.,
                 Defendant.


       This action is assigned to the Honorable Peter H. Kang.
       Service of documents. When serving the complaint or notice of removal, the plaintiff or
removing defendant must serve on all other parties a copy of this order and the supplementary
material specified in Civil Local Rule 4-2.
         Magistrate Judge Jurisdiction. This case has been randomly assigned to a magistrate
judge, who, with written consent of all parties, may conduct all proceedings in a case, including
all pretrial and trial proceedings, entry of judgment and post-trial motions, with appeal directly to
the United States Court of Appeals for the Ninth Circuit. See “Consenting to the Jurisdiction of a
Magistrate Judge” on the Court’s webpage at www.cand.uscourts.gov for more information.
        Plaintiff or the removing party must complete and file the attached form “Consent or
Declination to Magistrate Judge Jurisdiction” (also available at www.cand.uscourts.gov/forms)
within 14 days of case initiation, and all other parties must do so within 14 days of appearing in
the case, or as otherwise ordered by the Clerk or magistrate judge.
       Availability of Alternative Dispute Resolution. This action is assigned to the
Alternative Dispute Resolution (ADR) Multi-Option Program governed by ADR Local Rule 3.
Counsel and clients shall familiarize themselves with that rule and with the material entitled
“Dispute Resolution Procedures in the Northern District of California” on the Court’s ADR
webpage at www.cand.uscourts.gov/adr.
        Important case management dates. Counsel must comply with the dates listed below
unless the judge otherwise orders.
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Case Management Event                                                     Deadline

File Certification of Conflicts and Interested Entities or Persons.       Upon first appearance
(See Civil L.R. 3-15)                                                     (supplement as necessary)

Deadline to file ADR Certification.                                       10/24/2024
(See ADR L.R. 3)

Deadline to meet and confer re: initial disclosures, early settlement,    10/24/2024
ADR process selection, and discovery plan.
(See F.R. Civ. P. 26(f))
Deadline to make initial disclosures.                                     11/7/2024
(See F.R. Civ. P. 26(a)(1))

Deadline to file Joint Case Management Statement.                         11/7/2024
(See Standing Order for All Judges of the Northern District of
California)

Initial Case Management Conference location: Courtroom F, 15th            11/14/2024 at 10:30 AM
Floor, 450 Golden Gate Avenue, San Francisco, CA




               Order Setting Initial Case Management Conference & ADR Deadlines — Page 2
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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA



  ALAN SILVA,                                       Case No. 24-cv-05264-PHK

                 Plaintiff,
                                                    CONSENT OR DECLINATION
          v.                                        TO MAGISTRATE JUDGE
                                                    JURISDICTION
  YANKA INDUSTRIES, INC.,
                 Defendant.

INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you
are the party) or the party you represent (if you are an attorney in the case) choose(s) to consent
or decline to magistrate judge jurisdiction in this matter. Sign this form below your selection.

       ☐ CONSENT to Magistrate Judge Jurisdiction

        In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Ninth Circuit.

       OR

       ☐ DECLINE Magistrate Judge Jurisdiction

       In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
magistrate judge conduct all further proceedings in this case and I hereby request that this case be
reassigned to a United States district judge.



 DATE:                                           NAME:


                                                                      Signature or “/s/”
                                         COUNSEL FOR
                                         (OR “PRO SE”):
